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                            UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF RHODE ISLAND

IN RE:           KRISTIN M. ALLARD                             Chapter 7
                                                               BK No. 18-10820
                        Debtor

              MOTION FOR i) EXAMINATION UNDER FEDERAL BANKRUPTCY
                 RULE 2004 AND ii) FOR PRODUCTION OF DOCUMENTS

         Charles A. Pisaturo, Jr., Chapter 7 trustee of the above referenced debtor's bankruptcy

estate (the "Trustee"), by his attorney, hereby moves pursuant to Federal Bankruptcy Rule of

Procedure 2004 and Local Rule 2004-1, that this Court enter an order: i) directing that Theresa

Primo of 11 Hudson Street, 1st Floor, Providence, Rhode Island appear and make herself

available for examination by the Trustee or his counsel at the Federal Center 380 Westminster

Street, 6th Floor, Room 620, in Providence, Rhode Island on August 28, 2018 beginning at 10:00

A.M., or such other date and time as the Trustee and Theresa Primo agree; and ii) directing that

Theresa Primo produce for the Trustee the documents identified in the accompanying Exhibit A

by August 23, 2018 at the law office of trustee’s counsel, 1055 Elmwood Avenue, Providence,

Rhode Island. In support of this motion, the Trustee respectfully states as follows:

         1.      Kristin M. Allard, the debtor, filed a Chapter 7 bankruptcy petition in this Court

on May 9, 2018. Charles A. Pisaturo, Jr., is the Chapter 7 trustee.

         2.      On information and belief, and according to the debtor’s testimony as well as a

copy of a recorded quitclaim deed provided to the trustee by the debtor, on January 9, 2017, the

debtor transferred real estate located at 11 Hudson Street in Providence, Rhode Island

(hereinafter the “Property”) to Theresa Primo, for no consideration.

         3.      The trustee wrote to Ms. Primo on July 17, 2018. Ms. Primo responded to the

trustee’s letter by telephone on July 24, 2018. The trustee suggested to her that she retain



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counsel. She indicated that she would respond further to the trustee after speaking with counsel.

The trustee awaits a further response from Theresa Primo as to whether she will agree to be

examined and produce documents.

        4.      Federal Bankruptcy Rule 2004 permits the “examination of any entity” provided

the examination “relate[s]. . . to the acts, conduct, or property or to the liabilities and financial

condition of the debtor, or to any matter which may affect the administration of the debtor’s

estate, or to the debtor’s right to a discharge.” Fed. R. Bankr. P. 2004(b). Moreover, the scope of

Rule 2004 is “extremely broad.” In re Youk-See, 450 B.R. 312, 319 (Bankr. D. Mass. 2011),

citing In re GHR Energy Corp., 33 B.R. 451, 453 (Bankr. D. Mass. 1983) (“unfettered and

broad”). The examination may properly extend to creditors who have had dealings with the

debtor, including in appropriate cases such creditors’ policies and procedures. In re Youk-See,

450 B.R. at 322, 324.

        5.      The Trustee seeks to examine Theresa Primo regarding the transfer of the

Property, including whether any consideration was paid to the debtor in exchange for the transfer

of the property (the debtor already testified that there was no consideration). The transfer of the

Property to Theresa Primo appears to be an avoidable fraudulent transfer under 11 U.S.C. §548.

The Trustee seeks to examine Theresa Primo regarding any and all other matters, facts and

circumstances relating to the referenced transfer as well as relating to the debtor’s present and

past financial condition and the bankruptcy petition, as well as any other matter appropriate and

allowable for a Bankruptcy Rule 2004 examination.

        WHEREFORE, the Trustee moves that the Court enter an order: i) directing that Theresa

Primo of 11 Hudson Street, 1st Floor, Providence, Rhode Island appear and make herself

available for examination by the Trustee and/or the Trustee’s counsel at the Federal Center 380




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Westminster Street, 6th Floor, Room 620, in Providence, Rhode Island for examination on

August 28, 2018 beginning at 10:00 A.M. or such other date and time as the Trustee and Theresa

Primo may agree; and ii) directing that Theresa Primo produce for the Trustee the documents

identified in the attached Exhibit A by August 23, 2018 or at or by such other time as the parties

may agree; and iii) granting such other and further relief as is just.

                                               Charles A. Pisaturo, Jr., Chapter 7 Trustee
                                               By His Attorney,


August 1, 2018                                 /s/ Charles A. Pisaturo, Jr.
                                               CHARLES A. PISATURO, JR. (REG NO. 4615)
                                               Law Offices of Charles A. Pisaturo, Jr.
                                               1055 Elmwood Avenue
                                               Providence, RI 02907
                                               TEL: (401) 274-3800
                                               FAX: (401) 751-6786

                                              NOTICE

Within fourteen (14) days of service of this Motion for a Rule 2004 Examination, if served
electronically, and an additional three (3) days pursuant to Fed. R. Bankr. P. 9006(f) if you were
served by mail, or other excepted means specified, any party who objects to the examination
shall serve and file an objection and/or motion for protective order with the Bankruptcy Court
Clerk’s Office, 380 Westminster Mall, 6th Floor, Providence, RI 02903, (401) 626-3100. If no
objections or motions for protective order are timely filed, the motion for examination will be
granted by the Court by endorsement order.

                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 1st day of August, 2018, I served by electronic filing (ECF) or
regular US Mail, a true copy of the within CHAPTER 7 TRUSTEE’S MOTION FOR
EXAMINATION to the following parties: Gary L. Donahue, Esq., Assistant U.S. Trustee, Peter
G. Berman, Esq., Marc D. Wallick, Esq.:

Theresa Primo
11 Hudson Street, 1st Floor
Providence, RI 02909

James J. McNulty
40 Court Street Suite 1150
Boston, MA 02108



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PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541


                                      /s/ Jennifer Peters
                                      Jennifer Peters
                                      Law Offices of Charles A. Pisaturo, Jr.
                                      1055 Elmwood Avenue
                                      Providence, RI 02907




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                                            EXHIBIT A

DEFINITIONS

For the purposes of this request for production, the following definitions control:

A. "Documents" are documents, records, books, papers, contracts, memoranda, invoices,
correspondence, notes, studies, reports, photographs, drawings, charts, maps, graphs, other
writings, recording tapes, recording discs, mechanical or electronic information or recording
elements, applications, settlement statements, and any other "documents" as defined in Rule 34,
Fed. R. Civ. P. If a document has been prepared in several versions, or if additional copies have
made which are not identical or are no longer identical by reason of subsequent notation or
marking of any kind, each non-identical copy is a separate document.

B. "Relating" means referring to, being evidence of, memorializing, or concerning in any way all
or any portion of the specified facts or contentions.

C. “Property” means the real estate located at 11 Hudson Street in Providence, Rhode Island
evidenced by that certain quit claim deed a copy of which is attached hereto.

If an objection is made to a request or any portion thereof on a claim of privilege or any other
basis, state with particularity the basis of the claim of privilege or other grounds asserted for
nondisclosure, and identify each document or portion thereof withheld, together with a brief
description of its contents.

REQUESTS

1.     Any and all documents relating to that transfer dated on or about January 9, 2017, of the
Property.

2.      Any and all documents relating to and evidencing any and all consideration, money,
funds, property or value of any kind given and or transferred to Kristin Allard in exchange for
and/or relating to the January 9, 2017 transfer of the Property.

3.     Any and all documents relating to any and all loans, liens and encumbrances, including
any mortgages secured by and/or recorded against the Property since January 9, 2017, including
any and all settlement statements.

4.      An accounting and/or list of any and all monies, funds, or value of any kind charged
and/or received for the rent and/or occupation of and/or residential boarding at the Property from
January 1, 2017 to the present.

5.     Any and all bank account statements relating to and/or evidencing any and all loan funds
received by Theresa Primo relating to the Property.

6.     Any and all documents relating to any loans secured by the Property.



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